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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF LOUISIANA
                              LAKE CHARLES DIVISION

 ING BANK N.V.                                   : DOCKET NO. 16-cv-1003

 VERSUS                                              IN ADMIRALTY
                                                 :
 M/V CHARANA NAREE, IMO No.                          DISTRICT JUDGE JAMES D. CAIN, JR.
 9296303, her engines, tackle, equipment,            MAG. JUDGE KATHLEEN KAY
 furniture, appurtenances, etc., in rem          :


                                      NOTICE OF APPEAL

        PLEASE TAKE NOTICE that Intervenor Macoil International S.A. (“Macoil”) notes

 appeal to the United States Court of Appeals for the Fifth Circuit from the United States District

 Court for the Western District of Louisiana’s March 5, 2020 Memorandum Ruling [ECF 100]

 denying Macoil’s Motion for Summary Judgment and granting the summary judgment motion of

 Plaintiff ING Bank N.V. (“ING Bank”), Judgment dismissing with prejudice Macoil’s in rem

 claim against the M/V CHARANA NAREE [ECF 101], and Memorandum Ruling dismissing

 with prejudice Macoil’s cross-claim against the M/V CHARANA NAREE and granting ING

 Bank’s Motion for Summary Judgment [ECF 102], each docketed as follows:

      3/5/2020 100       MEMORANDUM RULING re 71 MOTION for Partial Summary
                         Judgment to Dismiss In Rem Claims of Macoil International S.A. filed
                         by I N G Bank N V; 77 MOTION for Summary Judgment filed by
                         Macoil International S A. Signed by Judge James D Cain, Jr on
                         3/5/2020. (crt,Benoit, T) (Entered: 03/05/2020)

      3/5/2020 101       JUDGMENT in accordance with the 100 Memorandum Ruling, IT IS
                         ORDERED, ADJUDGED, and DECREED that plaintiff ING Bank
                         N.V.s Motion for Summary Judgment [doc. 71] be GRANTED and that
                         intervenor plaintiff Macoil International, S.A.s Motion for Summary
                         Judgment [doc. 77] be DENIED. Accordingly, Macoils in rem claim
                         against the M/V Charana Naree is hereby DISMISSED WITH
                         PREJUDICE at Macoils cost. Signed by Judge James D Cain, Jr on
                         3/5/2020. (crt,Benoit, T) (Entered: 03/05/2020)
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      3/5/2020 102      MEMORANDUM RULING re 72 MOTION for Partial Summary
                        Judgment to Dismiss Cross-Claim of Macoil International S.A. filed by I
                        N G Bank N V. Signed by Judge James D Cain, Jr on 3/5/2020.
                        (crt,Benoit, T) (Entered: 03/05/2020)

      3/5/2020 103      JUDGMENT in accordance with the 102 Memorandum Ruling, IT IS
                        ORDERED, ADJUDGED, and DECREED that plaintiff ING Bank
                        N.V.s Motion for Summary Judgment [doc. 72] be GRANTED.
                        Accordingly, Macoil International, S.A.s cross-claim against ING is
                        hereby DISMISSED WITH PREJUDICE at Macoils cost. Signed by
                        Judge James D Cain, Jr on 3/5/2020. (crt,Benoit, T) (Entered:
                        03/05/2020)


 Dated: March 19, 2020.

   /s/ J. Stephen Simms                             /s/ G. Beauregard Gelpi
 J. Stephen Simms (admitted pro hac vice)          G. Beauregard Gelpi (#18226)
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